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A Professional Corporation

March 2, 2020
VIA ELECTRONIC FILING

Honorable Madeline Cox Arleo, U.S.D.J.
United States District Court

Martin Luther King Jr. Federal Courthouse
50 Walnut Street

Newark, New Jersey 07101

Re: NVE,, Inc. v. Palmeroni, et al.
Civil Action No. 06-5455 (MCA)(LDW)

Dear Judge Arleo:

During the January 23, 2020 hearing on the parties pretrial motions, the Court directed
Plaintiff N.V.E., Inc. (‘NVE”) to submit a proposed protocol for the direct examination of the
Defendants who are both proceeding pro se. In response to that directive, we propose the
following:

e Defendants shall compose lists of questions for their respective direct
examinations;

e Defendants shall submit their lists to Plaintiffs counsel and the Court one week
prior to the start of the trial;

e NVE may object to any of Defendants’ questions before the start of the trial and
the Court shall rule on the objections.

e Just prior to testifying, Defendants shall ask themselves the remaining questions
and proffer answers to them outside the presence of the jury but in the presence of
counsel for NVE; NVE’s counsel will be permitted to object. The Court will rule
on the objections

e Based on the Court’s rulings, Defendants will ask themselves the remaining
questions in front of the jury and follow the Court’s rulings in providing answers.

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Under the Federal Rules of Evidence, this Court has discretion to control the mode of
examining witness. Fed. R. Evid. 611(a). In addition, the Court can decide “whether testimony
shall be in the form of a free narrative or responses to specific questions.” Advisory Committee
Notes to Fed. R. Evid. 611.

Here, the most appropriate form of examination is for the defendants to ask themselves
questions. Courts throughout the country have endorsed this approach for pro se litigants. State v.
Curley, A-2606-11T4, 2016 WL 2596404, at *6 (N.J. Super. Ct. App. Div. May 6, 2016)(“We
note that several jurisdictions have accepted the question-and-answer method for pro se litigant-
witnesses.”) (citing United States v. Beckton, 740 F.3d 303, 306-07 (4th Cir .), cert. denied, 572
U.S. 1128 (2014) (holding that the district court “was well within the proper exercise of [its]
discretion” in denying the defendant’s “request[ | that, as a pro se [litigant], he be permitted to
testify in narrative form.); United States v. Nivica, 887 F.2d 1110, 1120-23 (1st Cir.1989), cert.
denied, 494 U.S. 1005 (1990); Hutter N. Trust v. Door Cnty. Chamber of Commerce, 467 F.2d
1075, 1078 (7th Cir.1972); Pietrangelo v. Wilmer Cutler Pickering Hale & Dorr, LLP, 68 A.3d
697, 717 (D.C. Ct.App.2013); State v. Joyner, 848 P.2d 769, 774 (Wash.Ct.App.1993)).

For these reasons, NVE respectfully requests the Court to adopt the protocol set forth

above.
Respectfully submitted,
/s/Samuel J. Samaro
SAMUEL J. SAMARO
ce: Jesus Palmeroni (via e-mail)

Vincent Rosarbo (via e-mail)
